         Case: 3:20-cv-00224-NBB Doc #: 80 Filed: 03/03/21 1 of 16 PageID #: 2205




                                      IN THE UNITED STATES DISTRICT COURT
                                        NORTHERN DISTRICT OF MISSISSIPPI
                                                  Oxford Division


 JOHN RASH,                                             )
                                                        )
                                      Plaintiff,        )
                                                        )   Civil No. 3:20-cv-00224-NBB-RP
  v.                                                    )
                                                        )
 LAFAYETTE COUNTY, MISSISSIPPI,                         )
                                                        )   ORAL ARGUMENT REQUESTED
                                      Defendant.        )
                                                        )
                                                        )




            REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF
       PLAINTIFF JOHN RASH’S PARTIAL MOTION FOR SUMMARY JUDGMENT




076506-0263-13477-Active.38791597.4                                                          3/3/21 2:22 PM
         Case: 3:20-cv-00224-NBB Doc #: 80 Filed: 03/03/21 2 of 16 PageID #: 2206




                                                   TABLE OF CONTENTS
                                                                                                                                     Page

INTRODUCTION .......................................................................................................................... 1

ARGUMENT .................................................................................................................................. 2

I.       THE COURTHOUSE GROUNDS ARE A TRADITIONAL PUBLIC FORUM .............. 2

II.      THE DUSK TO DAWN CLOSURE ORDER DOES NOT WITHSTAND
         SCRUTINY AS A TIME, PLACE, AND MANNER RESTRICTION ............................. 6

III.     THE ONE- OR FIVE-PERSON PERMITTING REQUIREMENT IS INVALID ............. 8

CONCLUSION ............................................................................................................................. 10




                                                                      i
         Case: 3:20-cv-00224-NBB Doc #: 80 Filed: 03/03/21 3 of 16 PageID #: 2207




                                               TABLE OF AUTHORITIES

                                                                                                                                Page(s)

Cases

Bell v. Keating,
  697 F.3d 445 (7th Cir. 2012) ....................................................................................................... 9
Bloedon v. Grube,
  631 F.3d 1218 (11th Cir. 2011) ................................................................................................... 9
Buehler v. City of Austin/Austin Police Dep’t,
  824 F.3d 548 (5th Cir. 2016) ....................................................................................................... 4
Carroll v. President and Com’rs of Princess Anne,
 393 U.S. 175 (1968) .................................................................................................................... 8
Center for Indiv. Freedom v. Carmouche,
  449 F.3d 655 (5th Cir. 2006) ....................................................................................................... 9
Chicago Acorn v. Metro. Pier & Expo. Auth.,
 150 F.3d 695 (7th Cir. 1998) ....................................................................................................... 5
City of Lakewood v. Plain Dealer Pub. Co.,
  486 U.S. 750 (1988) .................................................................................................................... 8
Edwards v. South Carolina,
  372 U.S. 229 (1963) .................................................................................................................... 2
Forbes v. Arkansas Educ. Television Commc’n Network Found.,
  22 F.3d 1423 (8th Cir. 1994) ....................................................................................................... 3
Forsyth County, Georgia v. Nationalist Movement,
  505 U.S. 123 (1992) .................................................................................................................... 8
Garza v. Starr County,
 309 F. Supp. 3d 454 (S.D. Tex. 2018) ...................................................................................... 10
Gathright v. City of Portland,
 439 F.3d 573 (9th Cir. 2006) ....................................................................................................... 3
Hays Cnty. Guardian v. Supple,
 969 F.2d 111 (5th Cir. 1992) ....................................................................................................... 5
Higher Society of Indiana, Inc. v. Tippecanoe County, Indiana,
  223 F. Supp. 3d 764 (N.D. Ind. 2016) ......................................................................................... 8
Hodge v. Talkin,
 799 F.3d 1145 (D.C. Cir. 2015) .................................................................................................. 3
ISKCON of Potomac, Inc. v. Kennedy,
  61 F.3d 949 (D.C. Cir. 1995) ...................................................................................................... 4
Knowles v. City of Waco, Tex.,
 462 F.3d 430 (5th Cir. 2006) ................................................................................................. 9, 10


                                                                     ii
         Case: 3:20-cv-00224-NBB Doc #: 80 Filed: 03/03/21 4 of 16 PageID #: 2208




Lakewood v. Plain Dealer Publishing Co.,
  468 U.S. 750 (1988) .................................................................................................................... 9
Lopez v. Town of Cave Creek,
  559 F. Supp. 2d 1030 (D. Ariz. 2008) ..................................................................................... 7, 8
Occupy Eugene v. U.S. Gen. Servs. Admin.,
 43 F. Supp. 3d 1143 (D. Or. 2014) .............................................................................................. 7
Pfeifer v. City of W. Allis,
  91 F. Supp. 2d 1253 (E.D. Wis. 2000) ........................................................................................ 5
Satawa v. Macomb County Road Comm’n,
  689 F.3d 506 (6th Cir. 2012) ....................................................................................................... 2
Stokes v. City of Madison,
  930 F.2d 1163 (7th Cir. 1991) ..................................................................................................... 9
United States v. Grace,
 461 U.S. 171 (1983) ................................................................................................................ 2, 3
United States v. Nat’l Treasury Emps.’ Union,
 513 U.S. 454 (1995) .................................................................................................................... 6
Verlo v. Martinez,
  262 F. Supp. 3d 1113 (D. Colo. 2017) ........................................................................................ 3




                                                                    iii
      Case: 3:20-cv-00224-NBB Doc #: 80 Filed: 03/03/21 5 of 16 PageID #: 2209




       Plaintiff John Rash respectfully submits this reply memorandum in further support of his

motion for partial summary judgment.

                                        INTRODUCTION

       The County fails to demonstrate the existence of any disputed issue of material fact that

must be resolved at trial. Instead, the County’s arguments only further confirm that summary

judgment should be granted on the issues on which Plaintiff moved: the Lafayette County Circuit

Courthouse grounds (“Courthouse Grounds”) are a traditional public forum, and the County’s

ordinances closing the Courthouse Grounds as of thirty minutes before dusk each day (the “Closure

Order”) and requiring a permit for every “use” of the Courthouse Grounds, even where that “use”

involves only a single individual, are unconstitutional.

       As discussed further below, the County’s contention that the Courthouse Grounds are a

nonpublic forum primarily restricted to government use is contrary to the factual record and the

law. The Courthouse Grounds, located at the center of the Oxford town square, have for

generations played a key role in the city’s and County’s political, social, and cultural life. Public

space in a town square, such as the Courthouse Grounds, is a paradigmatic example of a traditional

public forum in which First Amendment rights enjoy the highest level of protection.

       Plaintiff is also entitled to summary judgment on the constitutionality of the Closure Order

and the County’s one- or five-person permitting requirement. The Closure Order is not a

reasonable time, place, and manner restriction. The County’s imposition of a total curfew that

purports to preclude any use of the Courthouse Grounds as of thirty minutes before dusk every

night, based only on generalized public safety concerns untethered to the parameters of any

specific proposed use, does not withstand constitutional scrutiny.          Moreover, imposing a

permitting requirement for use of the Courthouse Grounds by a single person, or groups of more

than four, is an impermissible prior restraint under settled Fifth Circuit precedent.


                                                  1
      Case: 3:20-cv-00224-NBB Doc #: 80 Filed: 03/03/21 6 of 16 PageID #: 2210




                                          ARGUMENT

I.     THE COURTHOUSE GROUNDS ARE A TRADITIONAL PUBLIC FORUM

       In this Court’s ruling denying Plaintiffs’ motion for a preliminary injunction (“PI Ruling”),

this Court found that the Courthouse Grounds “are open to the public and function as a public park

with grass, benches, trees, and pedestrian pathways”; that the Courthouse Grounds “have long

been a site of protests, rallies, and other community activities”; and that “[u]se of the grounds was

largely unregulated until 2015 when the County established a permitting process for public

gatherings and other uses.” PI Ruling at 2. The evidentiary record developed in discovery firmly

supports this Court’s initial findings as to the physical character and historical use of the

Courthouse Grounds. This record mandates the conclusion that the Courthouse Grounds are a

traditional public forum. Nothing in the County’s opposition brief suggests otherwise.

       First, the County argues that the Courthouse Grounds have the “essential character” solely

of “a place of court business,” and that such places are categorically not traditional public forums.

Opp. at 2. This unsupported ipse dixit assertion does not, however, raise a triable dispute of fact

sufficient to defeat Plaintiff’s motion for summary judgment. The fact that the interior of the

Courthouse building is primarily reserved for official business does not mean that the Courthouse

Grounds are as well. See United States v. Grace, 461 U.S. 171, 180 (1983) (that a forum “abuts

government property that has been dedicated to a use other than as a forum for public expression”

does not destroy its public character). To the contrary, courts have long recognized that public

spaces “close to the seat of government” are traditional public forums. Satawa v. Macomb County

Road Comm’n, 689 F.3d 506, 519 (6th Cir. 2012). As the Supreme Court made clear nearly sixty

years ago, “assembl[ing] at the site of [government]” for political purposes constitutes “an exercise

of . . . basic constitutional rights in their most pristine and classic form.” Edwards v. South

Carolina, 372 U.S. 229, 235 (1963). And, as the County has recognized, the Courthouse Grounds


                                                 2
      Case: 3:20-cv-00224-NBB Doc #: 80 Filed: 03/03/21 7 of 16 PageID #: 2211




are “located in the center of the City of Oxford Courthouse Square,” which “functions as the

cultural, economic and social center of the Lafayette County-Oxford community.” County SJ Br.

at 2–3. Public space within a town square clearly constitutes a traditional public forum. See, e.g.,

Forbes v. Arkansas Educ. Television Commc’n Network Found., 22 F.3d 1423, 1429 (8th Cir.

1994) (“The first is the traditional public forum, such as the town square . . .”); Gathright v. City

of Portland, 439 F.3d 573, 575 (9th Cir. 2006) (discussing “the classic right of an individual to

speak in the town square”). The Courthouse Grounds’ status as a traditional public forum is thus

intimately linked with its historical and cultural role in the Lafayette County-Oxford community,

not merely or primarily derived from the judicial business conducted within the Courthouse.

       The County relies on Verlo v. Martinez, 262 F. Supp. 3d 1113 (D. Colo. 2017) as support

for its argument that courthouse grounds can never be traditional public forums. Opp. at 2. There,

however, the court declined to “decide the proper forum designation for courthouse grounds

generally”; its ruling was limited to a “Restricted Area” which “was intended to be, and in fact

functions as . . . an extension of the Courthouse lobby.” 262 F. Supp. 3d at 1149. The County

does nothing to show that a “Restricted Area” of the Denver, Colorado criminal courts building at

(in Verlo), or the U.S. Supreme Court plaza (in Hodge v. Talkin, 799 F.3d 1145 (D.C. Cir. 2015)),

are meaningfully analogous to the Courthouse Grounds or play any comparable historical or social

roles. And, the County fails to distinguish the cases cited by Plaintiff in which other courthouse

grounds were found to be traditional public forums on similar records (See Br. at 15–16 & n.35),

noting only that in two of those cases, the government did not contest the issue. Opp. at 3–4.

       Second, the County obliquely relies on Grace to suggest that the Courthouse Grounds are

not a public forum because their physical characteristics evince “separat[ion]” from “the retail

shops, restaurants, bars, other businesses, and parking areas which form the ‘Oxford Town




                                                 3
       Case: 3:20-cv-00224-NBB Doc #: 80 Filed: 03/03/21 8 of 16 PageID #: 2212




Square.’” Opp. at 3. Grace, however, held that the lack of differentiation between the sidewalk

in front of the Supreme Court and the surrounding sidewalk was evidence of its public character;

it did not imply that public space that is distinguishable from its surroundings is for that reason not

a public forum. That is clearly not the case; traditional public forums, such as parks, are as a rule

set off from their surroundings by roads, sidewalks, or the like. See, e.g., ISKCON of Potomac,

Inc. v. Kennedy, 61 F.3d 949, 951–52 (D.C. Cir. 1995) (describing the physical characteristics of

National Mall). The issue in Grace was whether the space at issue had the characteristics of a

“special type of enclave” reserved for official business. Grace, 461 U.S. at 180. In this case, far

from being a special enclave that exists at a remove from the town square, the County concedes,

for example, that the Courthouse Grounds “typically serves as a ‘pass-through’ for pedestrians

walking to the area shops, restaurants and bars.” Opp. at 11. The physical characteristics of the

Courthouse Grounds thus do not raise any disputed issues of fact favoring the County.

        Third, the County asserts, without any citation to the record, that public use of the

Courthouse Grounds has only been “permitted since the adoption of the Facility Use Policy in

2015” and has “occurred only since 2018.” Opp. at 2, 4. This is both plainly wrong as a factual

matter and, in any event, insufficient to raise a factual dispute for trial. See Buehler v. City of

Austin/Austin Police Dep’t, 824 F.3d 548, 556 n.7 (5th Cir. 2016) (“It is not [the court’s] function

to scour the record in search of evidence to defeat a motion for summary judgment; we rely on the

nonmoving party to identify with reasonable particularity the evidence upon which he relies.”).1


1
  The record is replete with evidence of pre-2015 public use of the Courthouse Grounds. See, e.g., Ex. 49
(East cross-examination) at 81:11-15 (“[T]he county courthouse grounds have been used for people to sit
on the benches for people to gather, for people to enjoy themselves in the square both day and night for
many years, right? A. That' s correct, yes, sir.”); Ex. 5 (Frye Tr.) at 128:20-129:6 (testifying that the public
had long made use of the area around the Confederate statue, referencing community members’ experiences
having “[sat] around the base of it . . . in elementary school” and “drank beer around it . . . in high school.”);
id. at 51:9-11 (discussing Double Decker festival having occurred “10 years ago”); Ex. 13 (McLarty Tr.) at
104:5-12 (discussing a man who “sat in front of the Confederate memorial for years and years, holding a


                                                        4
       Case: 3:20-cv-00224-NBB Doc #: 80 Filed: 03/03/21 9 of 16 PageID #: 2213




        Finally, in response to Plaintiff’s alternative argument that the Courthouse Grounds are, at

a minimum, a designated public forum, the County asserts that because the permitting process

restricts use of the Courthouse Grounds, the County has not opened the Courthouse Grounds for

“unlimited” or “indiscriminate” use, and therefore they constitute a “limited public forum.” Opp.

at 4–8. As an initial matter, the record provides much stronger support for the conclusion that the

Courthouse Grounds constitute a traditional public forum, as the evidence clearly shows that the

permitting process was put in place in 2015 to regulate pre-existing public use of the Courthouse

Grounds, rather than to open a previously-closed forum.2

        However, to the extent alternative forum analyses are relevant, all that is required of a

designated public forum is that it be “open to the public for a range of expressive purposes.”

Chicago Acorn v. Metro. Pier & Expo. Auth., 150 F.3d 695, 699 (7th Cir. 1998); see also Pfeifer

v. City of W. Allis, 91 F. Supp. 2d 1253, 1261 n.2 (E.D. Wis. 2000) (“‘Indiscriminate’ does not

mean that all First Amendment activities must be permitted in any designated public forum.”).

The County’s argument that the permitting process itself destroys the public character of the forum

is circular. See Hays Cnty. Guardian v. Supple, 969 F.2d 111, 117 (5th Cir. 1992) (rejecting

argument where “[t]he restriction would disprove any intent to create a designated public forum,

and the failure to create a public forum would justify the restriction of speech”). So, too, is the

County’s argument that any restriction on speech in a designated public forum can be justified as

a “withdraw[al] [of] that designation at its discretion.” Opp. at 5; see also id. at 6–7. If restrictions

on speech automatically constituted permissible “withdrawals” of the forum’s designation, the


Confederate flag”); see also Rash Summ. J. Br. (ECF No. 67) at 6 n.5 (cataloging uses both before and after
2015); Rash Summ. J. Opp. Br. (ECF No. 78) § II.C (discussing pre-2015 use of the Courthouse Grounds).
2
  See, e.g., Ex. 4 (Busby Tr.) at 35:7-25 (testifying that the Courthouse grounds were used before the
implementation of the Facility Use Policy in 2015 and the policy was created to regulate existing use rather
than open to new uses); Ex. 5 (Frye Tr.) at 128:4-6 (“the idea has always been to make it more open and
more accessible because it’s the heartbeat of our community”).


                                                     5
      Case: 3:20-cv-00224-NBB Doc #: 80 Filed: 03/03/21 10 of 16 PageID #: 2214




protections afforded to First Amendment rights in designated public forums would be illusory.

II.     THE DUSK TO DAWN CLOSURE ORDER DOES NOT WITHSTAND
        SCRUTINY AS A TIME, PLACE, AND MANNER RESTRICTION

        Plaintiff’s motion demonstrated that the County’s Closure Order was not narrowly tailored

to serve a significant government interest because there is no evidence in the record substantiating

the County’s asserted public safety and traffic safety concerns. As Plaintiff explained (Br. at 19),

“when the Government defends a regulation on speech as a means to redress past harms or prevent

anticipated harms, it must do more than simply ‘posit the existence of the disease sought to be

cured.’ It must demonstrate that the recited harms are real, not merely conjectural, and that the

regulation will in fact alleviate these harms in a direct and material way.” United States v. Nat’l

Treasury Emps.’ Union, 513 U.S. 454, 475 (1995).

        In response, the County, without citing specific evidence,3 asserts that the Closure Order

is necessary because (i) the Courthouse Grounds are “at the center of a very busy town Square”

and are “poorly lit and typically serve[] as a pass-through” for pedestrians visiting the square; (ii)

University students frequent bars and restaurants on the Square; and (iii) demonstrations in front

of the Confederate monument purportedly have put a strain on law enforcement. Opp. at 10–11.

However, as Plaintiff explained in detail in opposition to the County’s motion, generalized public

safety concerns associated with “late evening” nightlife on the Square on certain weekends and

holidays (id. at 11) do not justify a blanket prohibition of First Amendment expressive activities

on the Courthouse Grounds as of thirty minutes before dusk each day of the year. This is

particularly true where there is no evidence of any arrests, citations, or other public safety incidents

having taken place on the Courthouse Grounds, including as a result of (or even



3
 The County incorporates its summary judgment briefing by reference, but that briefing also fails to cite
any specific evidence. See Def.s’ Summ. J. Br. (ECF No. 69), at 25.


                                                   6
      Case: 3:20-cv-00224-NBB Doc #: 80 Filed: 03/03/21 11 of 16 PageID #: 2215




contemporaneously with) political or artistic expressive conduct on the Courthouse Grounds, prior

to the enactment of the policy. See UF ¶¶ 5–7. On the County’s own terms, its policy closes the

Courthouse Grounds not because of any public or traffic safety concerns actually associated with

use of the Courthouse Grounds, but instead because of unspecified second-order concerns resulting

from commercial activity elsewhere on the Square that is not subject to comparable restrictions.

This disparate treatment of First Amendment-protected activity cannot be justified as narrowly

tailored to serve a significant government interest, and the County does not attempt to do so.

        The County’s attempts to distinguish Plaintiff’s authorities also fail. The County claims

that Occupy Eugene v. U.S. General Services Administration, 43 F. Supp. 3d 1143 (D. Or. 2014)

is distinguishable because the court noted in dicta that while the 8 a.m. to 5 p.m. restriction there

at issue was “much too strict,” id. at 1150, a 7 a.m. to 10 p.m. limitation might hypothetically pass

muster. Opp. at 12. Yet Occupy Eugene in fact rejected an argument substantially similar to the

County’s, finding that while “public safety, aesthetics and public use are legitimate government

interests, the hours regulations [at issue] . . . were so tightly restricted that they created an

impermissible restriction of [plaintiff’s] First Amendment rights.” Id.4

        Similarly, the County claims that Lopez v. Town of Cave Creek, 559 F. Supp. 2d 1030 (D.

Ariz. 2008) is distinguishable because there “the defendant did not provide any evidence that

traffic safety was endangered” by the activity subject to the regulation (Opp. at 12)—i.e., “day

laborers soliciting employment from vehicle occupants.” 559 F. Supp. 2d at 1034. Yet here, the

County has similarly presented no evidence that “pedestrian and traffic safety” (Opp. at 12) are

endangered by use of the Courthouse Grounds for First Amendment-protected activities after thirty



4
 Notably, Occupy Eugene concerned “the plaza of the Eugene Federal Building . . . located on a highly-
visible, busy street corner . . . adjacent to courthouses, federal, state, and municipal political offices,” 43 F.
Supp. 3d at 1146—not, as the County claims (Opp. at 12), “a park area.”


                                                        7
       Case: 3:20-cv-00224-NBB Doc #: 80 Filed: 03/03/21 12 of 16 PageID #: 2216




minutes before dusk, and Lopez demonstrates that absent such evidence, “[m]erely invoking an

interest in traffic safety . . . is insufficient.” Id. Indeed, Lopez also held that even assuming the

defendant had presented such evidence, the ordinance at issue would still not be narrowly tailored,

because the asserted interests in traffic safety could be addressed through “enforcement of existing

traffic, parking, and loitering laws.” Id. at 1035. The same is true here.

        Finally, the County vaguely contends, without citing any supporting evidence, that the

County’s denial of Plaintiff’s permit for the PROJECT(ion) event may have been independently

justified because “the ‘speech at issue’ . . . offers a significant distraction to passing motorists and

risk to pedestrian safety and detracts from the dignity of the Courthouse.” Opp. at 8. Yet the

County does not contend that County personnel made an individualized assessment of the

ostensible public safety risks associated with the PROJECT(ion) event and denied Plaintiff’s

permit on that basis, and the County’s attempt to manufacture a post-hoc alternative rationale

should be rejected. See, e.g., City of Lakewood v. Plain Dealer Pub. Co., 486 U.S. 750, 758 (1988)

(criticizing use of “post hoc rationalizations by the licensing official and the use of shifting or

illegitimate criteria”). And, numerous court decisions have affirmed that constitutional protections

for political and artistic conduct are not vitiated by concerns for courthouse dignity. See, e.g.,

Carroll v. President and Com’rs of Princess Anne, 393 U.S. 175 (1968); Forsyth County, Georgia

v. Nationalist Movement, 505 U.S. 123 (1992); Higher Society of Indiana, Inc. v. Tippecanoe

County, Indiana, 223 F. Supp. 3d 764 (N.D. Ind. 2016), aff’d, 858 F.3d 1113 (7th Cir. 2017).

III.    THE ONE- OR FIVE-PERSON PERMITTING REQUIREMENT IS INVALID

        Contrary to the County’s contentions, Plaintiff has standing to challenge the

constitutionality of the County’s requirement that “all users of the Courthouse grounds (one person

within the Courthouse grounds proper and groups of five or more individuals congregating around

the confederate memorial) to first obtain a permit.” Opp. at 13–14. In the First Amendment


                                                   8
      Case: 3:20-cv-00224-NBB Doc #: 80 Filed: 03/03/21 13 of 16 PageID #: 2217




context, “[c]hilled speech is, unquestionably, an injury supporting standing.” Bell v. Keating, 697

F.3d 445, 453 (7th Cir. 2012); see also Center for Indiv. Freedom v. Carmouche, 449 F.3d 655,

660 (5th Cir. 2006) (“Controlling precedent thus establishes that a chilling of speech because of

the mere existence of an allegedly vague or overbroad statute can be sufficient injury to support

standing.”). And, where a claim challenges a permitting scheme, “[t]he class of plaintiffs eligible

for standing includes all who are affected by its implementation”— i.e., “all who must apply for a

permit.” Stokes v. City of Madison, 930 F.2d 1163, 1168 (7th Cir. 1991); see also Lakewood v.

Plain Dealer Publishing Co., 468 U.S. 750 (1988) (publishing company had standing to challenge

on its face a licensing scheme before applying).

        Here, the County’s permitting policy plainly applies to Plaintiff and restricts the exercise

of his First Amendment rights. Plaintiff has previously engaged in activity subject to the policy—

both by holding and seeking to hold the PROJECT(ion) event on the Courthouse Grounds and by

participating in and documenting political activity on the Courthouse Grounds—and has attested

that the challenged policies impair his ability to engage in such conduct in the future.5 This more

than suffices to challenge a permitting requirement such as the one at issue here. See Knowles v.

City of Waco, Tex., 462 F.3d 430, 433 (5th Cir. 2006) (plaintiffs had standing to facially challenge

permitting ordinance for gatherings of more than two people, based on “fear[ ] that they would be

cited” for violating the ordinance); Bloedon v. Grube, 631 F.3d 1218, 1229 (11th Cir. 2011)

(plaintiff had standing to challenge permitting requirement where he “averred that he intends to

return and proselytize on the GSU campus, but he has not done so because of his fear of re-arrest”).

         On the merits, the County effectively concedes that Knowles’ holding that “ordinances


5
 See Ex. 55 (Feb. 2, 2021 Rash Decl.) ¶ 5; id. at ¶ 6 (describing chilling effects of County’s policies); see
also ECF No. 3-4 (July 30, 2020 Rash Decl.) ¶ 6 (describing Plaintiff’s experience documenting a July 4,
2020 pro-Confederate protest, and being told to “go to your side” by a Sheriff’s deputy); id. ¶ 13 (describing
Plaintiff’s experience documenting a July 18, 2020 anti-Confederate protest).


                                                      9
      Case: 3:20-cv-00224-NBB Doc #: 80 Filed: 03/03/21 14 of 16 PageID #: 2218




requiring a permit for demonstrations by a handful of people are not narrowly tailored to serve a

significant government interest,” 462 F.3d at 436, is controlling in the traditional public forum

context. Opp. at 16 (“Essential to the court’s decision that the advance permit requirement could

not be constitutionally justified” was its application to “‘traditional’ public forum areas.”). Thus,

should the Court grant summary judgment to Plaintiff on the forum analysis issue, summary

judgment on the constitutionality of this permitting requirement must necessarily follow.

       The County nonetheless attempts to argue that its one or more person permitting

requirement is “fully justified and reasonable” because the Courthouse Grounds “are a place of

business, are narrowly confined and subject to competing uses,” and a permitting requirement “not

only serves traffic and pedestrian safety interests but also the interest in maintaining an appropriate

environment conducive to court operations.” Opp. at 16. The County offers no evidence showing

that the presence of five people—let alone a single person—on the Courthouse Grounds would

somehow interfere with court operations, including during times when the court is closed such as

nights and weekends. To the contrary, as the historical record demonstrates, the Courthouse

Grounds are an open, public space in the middle of a town square that have been historically used

by the public for a variety of purposes; indeed, County officials testified that social or recreational

uses of the Courthouse Grounds would not be prohibited under the policy. E.g., SUF ¶ 12. Given

the absence of any evidence to the contrary, this Court cannot conclude that a “political” use of

the Courthouse Grounds would cause any materially greater interference. See, e.g., Garza v. Starr

County, 309 F. Supp. 3d 454, 460 (S.D. Tex. 2018) (enjoining policy that did not define “use” and

thus raised the concern that any “use,” “even passive political speech,” was “prohibited absent

application for a permit”).

                                          CONCLUSION

       Plaintiff’s partial motion for summary judgment should be granted.


                                                  10
    Case: 3:20-cv-00224-NBB Doc #: 80 Filed: 03/03/21 15 of 16 PageID #: 2219




Dated: March 3, 2021

                                                /s/ Joshua Tom
SIMPSON THACHER & BARTLETT LLP           AMERICAN CIVIL LIBERTIES UNION OF
Jonathan K. Youngwood (pro hac vice)     MISSISSIPPI FOUNDATION, INC.
Isaac Rethy (pro hac vice)               Joshua Tom, MS Bar. No 105392
425 Lexington Avenue                     Landon Thames, MS Bar No. 105127
New York, NY 10017                       P.O. Box 2242
(212) 455-2000                           Jackson, MS 39225
jyoungwood@stblaw.com                    Phone: (601) 354-3408
irethy@stblaw.com                        jtom@aclu-ms.org
                                         lthames@aclu-ms.org
C. Jackson Williams, MS Bar No. 7226
P.O. Box 69
Taylor, MS 38673
Phone: (662) 701-9447
cjxn@mac.com




                                       11
      Case: 3:20-cv-00224-NBB Doc #: 80 Filed: 03/03/21 16 of 16 PageID #: 2220




                                CERTIFICATE OF SERVICE

I, Joshua Tom, hereby certify that on March 3, 2021, I electronically filed the foregoing with the
Clerk of the Court using the ECF system which sent notification of such filing to all parties on
file with the Court.


                                                     /s/ Joshua Tom
                                                     Joshua Tom




                                                12
